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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

BRENT KIDECKEL                                              |

                 Plaintiff                                  | CASE NO.:       1:24-cv-02907-CJN

           V.                                               |

                                                            |

THE FOREIGN NATION OF CANADA, et al.                        |

                 Defendants.                                |

_______________________________________________|




           NOTICE REGARDING MAY 13, 2025 SECOND NEF TAG

Plaintiff Brent Kideckel respectfully submits this Notice to place into the record key facts
concerning the Court’s ongoing docket activity and the conduct of Defendants’ counsel.

  1.   On May 13, 2025, a second Notice of Electronic Filing (“NEF”) tag appeared on
       Plaintiff’s filing—specifically the submission highlighting the first NEF tag from May 5,
       2025.. Like the initial tag, this second NEF appeared only on Plaintiff’s filings marking
       Jeffrey Robinson and Lewis Beach Kaufmann Middlemiss PLLC (“LBKM”) as
       “terminated”, not on any filings by Defendants. This selective and repeated tagging
       suggests a deliberate and extraordinary judicial signal, particularly in the context of
       Plaintiff’s unopposed motions seeking disqualification and sanctions.


  2.   As of the date of this filing, it has been more than 30 days since the May 13 NEF. That
       filing called the Court’s attention to the May 5 tag and ongoing issues of unauthorized
       representation. Under federal practice, where 21 days is the standard window to respond
       or cure under Rules 12 and 15, the passage of this longer interval—with no responsive
       action, substitution of counsel, or opposition—is legally and procedurally significant. No

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       party has addressed who currently has standing to represent whom.


  3.   On June 9, 2025, Plaintiff submitted a proposed order to Chambers via email in
       connection with a forthcoming motion for non-party sanctions against Scalzi Caplan LLP
       and Antoniou Law, grounded in spoliation risk and non-compliance with a duly issued
       litigation hold. That email was sent to the Chambers inbox and copied all relevant U.S.
       and Canadian counsel. To date, no objection, denial, or clarification has been made by
       any party or attorney, including those named or implicated in the proposed sanctions
       order.


Taken together, the May 13 NEF, the unanswered email regarding sanctions for spoliation, and
the absence of any effort to clarify standing or address the Court’s NEF signaling reflect a
troubling abdication of ethical obligations by Defendants and their counsel.

Plaintiff submits this notice in advance of forthcoming filings, including motions for sanctions
and to strike all tainted filings, and to preserve a full record of the Court’s apparent signaling and
Defendants’ sustained inaction. The silence by officers of the Court in both jurisdictions—after
two NEF tags and multiple direct communications—should be viewed as acquiescence,
ratification, or bad faith evasion.

Respectfully submitted,



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Dated: June 16, 2025
